        Case 19-12825 Doc 5 Filed 10/15/19 Entered 10/15/19 16:28:14 Main Document Page 1 of 3
 Fill in this information to identify your case:

 Debtor 1                   Paul Michael McGoey
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Audi Financial Services                  Describe the property that secures the claim:                 $36,353.12               $27,373.00            $8,980.12
         Creditor's Name                          2018 Audi A3 29,900 miles
                                                  Vehicle: (Community Property)
         P.O. Box 7498
                                                  As of the date you file, the claim is: Check all that
         Libertyville, IL                         apply.
         60048-7498                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          08/11/2018                Last 4 digits of account number        9754




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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        Case 19-12825 Doc 5 Filed 10/15/19 Entered 10/15/19 16:28:14 Main Document Page 2 of 3

 Debtor 1 Paul Michael McGoey                                                                                 Case number (if known)
               First Name                  Middle Name                      Last Name


 2.2     Daniel Becket Becnel                       Describe the property that secures the claim:                   $460,000.00        $627,116.00    $306,412.99
         Creditor's Name                            425 East 10th Ave. Covington, LA
                                                    70433
         4425 W. Airline Hgwy                       Residence: Primary Home
                                                    As of the date you file, the claim is: Check all that
         Suite B                                    apply.
         Laplace, LA 70068                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2017                        Last 4 digits of account number


 2.3     Investar Bank                              Describe the property that secures the claim:                   $174,500.00        $627,116.00             $0.00
         Creditor's Name                            425 East 10th Ave. Covington, LA
                                                    70433
                                                    Residence: Primary Home HELOC
                                                    As of the date you file, the claim is: Check all that
         7244 Perkins Rd.                           apply.
         Baton Rouge, LA 70884                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Business
       community debt

 Date debt was incurred          09/26/2018                  Last 4 digits of account number         9950

         Land Rover Financial
 2.4                                                                                                                 $48,156.62         $40,000.00       $8,156.62
         Group                                      Describe the property that secures the claim:
         Creditor's Name                            2014 Land Rover Range Rover
                                                    76,000 miles
                                                    Vehicle: (Community Property)
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 78069                             apply.
         Phoenix, AZ 85062-8069                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Personal
       community debt

 Date debt was incurred          07/30/2018                  Last 4 digits of account number         2712




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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        Case 19-12825 Doc 5 Filed 10/15/19 Entered 10/15/19 16:28:14 Main Document Page 3 of 3

 Debtor 1 Paul Michael McGoey                                                                                 Case number (if known)
               First Name                  Middle Name                      Last Name


 2.5     PNC Bank                                   Describe the property that secures the claim:                   $299,028.99           $627,116.00             $0.00
         Creditor's Name                            425 East 10th Ave. Covington, LA
                                                    70433
                                                    Residence: Primary Home
                                                    As of the date you file, the claim is: Check all that
         PO Box 1820                                apply.
         Dayton, OH 45401-1820                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Personal
       community debt

 Date debt was incurred          11/3/2015                   Last 4 digits of account number         8092


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,018,038.73
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,018,038.73

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
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